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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
      OPIATE LITIGATION                                                  MDL No. 2804

    The County of Summit, Ohio, et al. v.                            Case No. 1:17-md-2804
        Purdue Pharma L.P., et al.
          Case No. 18-op-45090                                       Hon. Dan Aaron Polster

The County of Cuyahoga, et al. v. Purdue
          Pharma L.P., et al.
        Case No. 17-op-45004


                     OBJECTION TO ORDER REGARDING
            ADJUDICATION OF PLAINTIFFS’ PUBLIC NUISANCE CLAIMS

        Certain defendants (“Defendants”) 1 respectfully submit this objection to the Court’s

Order Regarding Adjudication of Plaintiffs’ Public Nuisance Claims (“Order”). Dkt. No. 2629.

        The Order stated:

                The Court asked the parties to submit memoranda stating their
                positions regarding a Seventh Amendment right to a jury trial of
                the Ohio public nuisance claims. Following consideration of these
                memoranda, the Court convened a conference to discuss the issues
                with the parties and stated it intended to allow a jury to decide
                liability, and the Court would then decide abatement remedies in a
                subsequent proceeding, if necessary. The Court invited submission
                of supplemental memoranda if any party believed this approach
                would be error.

                Plaintiffs did not file any supplemental position paper, indicating
                acquiescence with the Court’s intended approach. Numerous
                defendants submitted a position paper explicitly consenting to a
                two-phase trial, where (i) the jury will determine nuisance liability




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 AmerisourceBergen Drug Corp., Cardinal Health, Inc., Henry Schein, Inc., McKesson
Corporation, and Walgreen Co.
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                and (ii) the Court will determine remedies, if any. The only
                objection to this trial method is asserted by Janssen ….

Id. at 1–2. 2 Defendants submit this memorandum to restate their position regarding their

Seventh Amendment rights. While Defendants agreed then, and agree now, that a two-phase

trial is appropriate, their submission did not stop there. To the extent the Order can be read as

stating that Defendants consented to Plaintiffs’ view (and the Court’s ruling) that the

“abatement” relief that would be determined in the second phase is, in fact, an equitable remedy

that is not subject to the Seventh Amendment, Defendants did not so consent and object to the

Order as not accurately reflecting Defendants’ position.

        On September 13, 2019, Defendants submitted a position paper regarding the right to a

trial by jury of Plaintiffs’ nuisance claims. Dkt. No. 2599. In that paper, Defendants explained

that they “are entitled under the Seventh Amendment to a jury trial regarding remedies where—

as here—the relief sought by Plaintiffs is the payment of money and does not fit within any

exception to the general rule that monetary relief is legal.” Id. at 5 (collecting cases).

Defendants further explained that, while “Plaintiffs seek billions of dollars in damages from

Defendants under the guise of ‘abatement,’” the “label used by Plaintiffs … has no effect on

Defendants’ right to a jury trial as to claims—like the nuisance claim here—that seek monetary

relief.” Id. at 6 n.6 (collecting cases). Finally, Defendants made clear that they did not “waive

their right to a jury trial on any issues so triable, including the issue of remedies.” Id. at 8.

        Defendants reiterated that position both during the teleconference with the Court and in

response to the Court’s invitation to submit supplemental memoranda. For example, Defendants




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 The Court similarly suggested, in denying certain defendants’ disqualification motion, that “[i]t
was defendants who argued” that “the question of abatement remains for the Court.” Dkt. No.
2676 at 9 (emphasis in original).

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filed a supplemental memorandum expressly to “preserve their objection that the remedy sought

by Plaintiffs under their nuisance claim—i.e., the payment of money—(i) does not constitute

abatement, and (ii) is legal, not equitable, relief to which a Seventh Amendment jury trial right

attaches.” Dkt. No. 2620 at 2.

       Accordingly, Defendants respectfully object to the Order to the extent that it may be read

to suggest that Defendants waived their right under the Seventh Amendment to a jury trial

regarding damages (including any “abatement” remedy that involves the payment of money).


Dated: October 11, 2019                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, Geoffrey E. Hobart, hereby certify that the foregoing document was served via the

Court’s ECF system to all counsel of record.

                                                   /s/ Geoffrey E. Hobart
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